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                      IN THE UNITED STATES DISTRICT COURT
                            FOR TH DISTRICT OF COLUMBIA


AMAALA JONES BEY                                      :
       Next Friend and Mother of Daughter             :
       Z.J.B. – Individually and soon to be           :
       Personal Representative and Administrator of   :
THE ESTATE OF KARON HYLTON                            :
                                                      :
v.                                                    : CA # 21- cv- 02785, CJN
                                                      :
DISTRICT OF COLUMBIA                                  :
OFFICER TERRANCE SUTTON                               :
OFFICER TEJERA # 10376                                :
OFFICER AMED AL’SHAWL # 11756                         :
OFFICER CORY NOVICK # 11594                           :
OFFICER ANDREW ZABVASKY                               :


                PLAINTIFF’S EXPLANATION FOR LACK OF SUMMONS II
       Comes now, Z.J.B. Plaintiff, by Amaala Jones-Bey, her Mother and by counsel, David L.

Shurtz, Esq. and in response to this Court’s Query:

MINUTE ORDER. Upon review of the Plaintiff's 1 Complaint, it is ORDERED that the

Plaintiff shall provide an update on or before January 7, 2022 as to why a summons

was not filed in accordance with Federal Rule of Civil Procedure 4(b). Signed by Judge

Carl J. Nichols on December 15, 2021

       Plaintiff explains as follows:

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      Previously, Plaintiff, Z.J.B. by Amaala Jones-Bey, her Mother and by counsel

David L. Shurtz, filed their initial explanation as to why the initial Summons have not

been issued. It is now appropriate to give this Court an Updated.

      Amaala Jones-Bey filed her Petition to apply to be the personal representative

of the Estate of Karon Hylton as his only child, Z.J.B., was born by mother Amaala

Jones-Bey and Ms. Jones-Bey is the closest relative of Z.J.B. However, she did not

want to reveal her address. This was not for incidental reasons. People associated

with Kennedy Street have been targeted and killed. These incidents have been

previously recounted in Ms. Jones-Bey’s original explanation previously filed in this

matter.

      However, it was the Probate Court’s decision to require that the Personal

Representative of the Estate’s name and address be listed on the Petition for Probate.

Upon consideration of the time and questionable outcome of Petitioners resistance to

providing her address, she has now provided that address. The Amended Petition for

Probate has been filed, a copy of which has been attached as an exhibit herein. As

soon as the appointment of Amaala Jones Bey is appointed to be the Personal

Representative of the Estate of Karon Hylton, Petitioner Karon Hylton will amend her

Complaint in this court as the Personal Representative of the Estate of Karon Hylton.

Thus, Petitioner Amaala Jones-Bey, takes this opportunity to explain why the initial

summons will not be submitted until the initial complaint filed by Amaala Jones Bey



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to toll various statute of limitations is AMENDED to set forth her status as the

Personal Representative of the Estate of Karon Hylton.

      This Update is appropriate as it is obvious that this Court wants to keep abreast

of the status of the Complaint filed by Amaala Jones Bey, and wants assurances that

the case will be prosecuted in a timely and orderly fashion. Accordingly, please

accept this Explanation Update in the case of Z.J.B. v. D.C. et. al. and related

attachments.

      As soon as the Probate Division appoints Amaala Jones-Bey as the Personal

Representative of the Estate of Karon Hylton, Ms. Jones-Bey will amend Plaintiff

Z.J.B’s Complaint in her status as the Personal Representative of the Estate of Karon

Hylton and move forward with full prosecution of the case of her minor child and sole

heir of the Estate of Karon Hylton.

Submitted by:

___________________/s/_______________________________

David L. Shurtz, Esq.
Counsel for the Z.J.B./Amaala Jones Bey (Mother)
1200 N. Nash Street, # 835
Arlington, VA 22209
(202) 617-9141

                            CERTIFICATE OF SERVICE

     I hereby state that this UPDATE has been filed on this court’s electronic
document for service on his 29th day of January 29, 2022.


          ________________________/s/___________________________

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                      David L. Shurtz




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